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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

ROl\/IAINE GIVlNGS

V.

FLAGSHIP CONDOMINlUl\/l ASSOCIATION
and FANTASEA RESORTS

CivilAclion No. 2:18-cv-05583-ER

 

 

STIPULATION OF DISMISSAL

It is hereby stipulated among and between counsel for Plaintiff, Romaine Givings and

counsel for Defendants, Flagship Condominium Associates and Fantasea Resorts that all claims

against Defendants are hereby DISMISSED Without prejudice

  

 

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